AKERMAN LLP

725 S. FIGUEROA STREET, SUTTE 3800
LOS ANGELES, CALIFORNIA 90017

TEL_; (213) 638-9500_FAX: (213) 627-6342

 

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Case 5:15-cV-02517-KK Document 1 Filed 12/10/15 Page 1 of 6 Page |D #:1

AKERMAN LLP

JUSTIN D. BALSER SBN 213478)

Email: `ustin.balser a erman.com

CHR_I O_PHER R. REDRICH SBN 266471)
Ernarl: ohrlstopher.fredrrch@al<erman.com

725 South Frgueroa Street, 38“‘ Floor

Los Ange1es, Cahfornia 90017-5433
Telephone: 213 688-9500
Faoslrnile: 213 627-6342

AKERMAN LLP

DENNIS N. LUECK JR. (SBN 292414)

Ernail: dennis.1ueck@akerrnan.corn
1400 WeWatta Street, Suite 500
Denver, CO 80202

Telephone: §303) 260-7712
Facslmlle: ( 03) 260-7714

Attorne s for Defendant
NAVIE T SOLUTIONS, INC.

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA ~ EASTERN DIVISI()N

YV()NNE GLEASON,

Plaintiffs,
V.

NAVIENT SOLUTIONS, INC., and
DOES 1 through 10, inc1usive,

Defendants.

 

 

 

 

Case No.

NOTICE OF REMOVAL OF
ACTION TO FEDERAL COURT
BASED ON FEDERAL QUESTION
JURISDICTION

[28 U.s.C. §§ 1331]

Riverside Coun Superior Court Case
o. RIC 15 13 066

Complaint Filed: Ootober 29, 2015
Trial Date: None

TO THE COURT, ALL PARTIES, AND TO THEIR COUNSEL OF RECORD:
Defendant Navient So]utions, Inc. (NSI), pursuant to 28 U.S.C. §§ 1331, 1441
and 1446, hereby removes this action from the Riverside County Superior Court to the

United States Distriot Court for the Central Distriot of California, and states as follows:

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CASE No. TBD

NOTICE OF REMOVAL

 

 

AKERMAN LLP

725 S. FIGUEROA STREET, SUITE 3800

 

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LOS ANGELES, CALIFORN!A 90017
TEL.: (213) 688-9500 - FAX: (213) 627-6342

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Case 5:15-cV-02517-KK Document 1 Filed 12/10/15 Page 2 of 6 Page |D #:2

I. STATEMENT OF THE CASE

1. On October 29, 2015, plaintiff Yvonne Gleason (Plaintiff) commenced an
action in Riverside County Superior Court, styled Yvonne Gleason v. Navient
Solutions, Inc., Case No. RIC1513066 (State Court Action). A copy of the complaint
in the State Court Action is attached hereto as part of Exhibit 1.

2. Plaintiff asserts three causes of action, Which she characterizes as folloWs:
(l) Violation of Fair Credit Reporting Act (15 U.S.C. § 1681b); (2) Violation of the
California Consumer Credit Reporting Agency Act (Cal. Cz`v. Code § 17 85.1); and (3)
Violation of the Rosenthal F air Debt Collection Practices Act (Cal. Civ. Code § 1788).

II. BASIS FOR REMOVAL: FEDERAL QUESTI()N .IURISDICTI()N

3. District courts have federal question jurisdiction over "all civil actions
arising under the Constitution, laWs, or treaties of the United States." 28 U.S.C. §
l33l. This Court has jurisdiction over this matter under 28 U.S.C. § 1331 because
Plaintiffs claims arise under the laws of the United States.

4. A case "arises under" federal law if the complaint establishes "either that
federal law creates the cause of action or that the plaintiffs right to relief necessarily
depends on resolution of a substantial question of federal lavv." Proctor v. Vz'shay
Intertechnology, Inc., 584 F.3d 1208, 1219 (9th Cir. 2009) (citations omitted).

5. Plaintiffs complaint relies on federal laW_namely, the federal F air Credit
Reporting Act (FCRA), 15 U.S.C. § 1681 et seq. (See Comp. 1113-17.) Plaintiff
claims NSI violated the FCRA by obtaining Plaintiffs credit report Without a
"permissible purpose" under 15 U.S.C. § 1681(b). (Ia’. 1115.) Adjudication of the
complaint thus requires an analysis and construction of the FCRA to determine Whether
Plaintiff is entitled to damages as alleged. Removal under 28 U.S.C. § 1331 is proper.

6. This Court has supplemental jurisdiction over Plaintiffs remaining state
law claims because they “form part of the same case or controversy.” 28 U.S.C. §
l367(a). A state law claim is part of the Same case or controversy if it shares a

“common nucleus of operative fact” With the federal claim, and if they Would normally

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AKERMAN LLP

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Los ANGELES, cALIFoRNiA 90017
TEL.: (213) 638-9500 ~ FAX: (213) 627-6342

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Case 5:15-cV-02517-KK Document 1 Filed 12/10/15 Page 3 of 6 Page |D #:3

be tried together. See e.g., Tmsz‘ees of the Constr. Ina’us. & Laborers Health & Welfare
Trust v. Desert Valley Landscape Maint., Inc., 333 F.3d 923, 925 (9th Cir. 2003).

7. The facts related to Plaintiffs state law causes of action are intertwined
With and based upon Plaintiffs allegations NSI improperly obtained Plaintiffs credit
report. (See Comp. 11120, 26.) The Court should therefore extend supplemental
jurisdiction over all of Plaintiff s state law claims.

III. ALL PROCEDURAL REQUIREMENTS FOR REMOVAL
HAVE BEEN SATISFIED

8. Removal of this action is timely. NSI Was served With a copy of the
complaint on November 10, 2015. NSI removes this action Within thirty days of
service.

9. This Court is the appropriate forum for removal. Plaintiff filed the State
Court Action in Riverside County Superior Court. The United States District Court for
the Central District of California, Eastern Division, is the federal judicial division
embracing Riverside County, California.

10. Pursuant to 28 U.S.C. § l446(a), a true and correct copy of all of the
process, pleadings, and orders on file in the State Court Action are attached hereto as
Exhibit 1.

11. Written notice of the filing of this notice of removal Will be given to
Plaintiff.

12. A copy of this notice Will be promptly filed With the Clerk of the Superior
Court of Riverside County. `

IV. C()NCLUSI()N

By this notice of removal and its attachments, NSI does not Waive any objections
it may have as to service, jurisdiction or venue, or any other defenses or objections it
may have to this action. NSI intends no admission of fact, law or liability by this

notice, and expressly reserves all defenses, motions and/or pleas. NSI prays that the

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3 CASE No. TBD

NOTICE OF REMOVAL

 

 

AKERMAN LLP
725 S. FIGUEROA STREET, SUITE 3800

 

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LOS ANGELES, CALIFORNTA 9001'7
TEL.: (213) 688-9500 - FAX: (213) 627-6342

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Case 5:15-cV-02517-KK Document 1 Filed 12/10/15 Page 4 of 6 Page |D #:4

State Court Action be removed to this Court, that all further proceedings in the State
Court Action be stayed, and that NSI receive all additional relief to Which it is entitled.
Dated: December 10, 2015 Respecth,llly submitted,

AKERMAN LLP

By: /S/Denm's N. Lueck, Jr.

Justin D. Balser

Dennis N. Luecl<, Jr.

Christo her R. Fredrich
Attorne s for efendant
NAVIE T SOLUTIONS, INC.

 

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NOTICE OF REMOVAL

 

 

AKERMAN LLP
725 S. FIGUEROA STREET, SUITE 3800

 

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Los ANGELES, CALiFoRNiA 90017
TEL.; (213) 688-9500 -FAx; (213) 627-6342

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Case 5:15-cV-02517-KK Document 1 Filed 12/10/15 Page 5 of 6 Page |D #:5

PROOF OF SERVICE

l am em loyed in the City and County of Denver, State of Colorado. 1 am over
the age of l and not a }I))arty to the wit in action. l\/ly business address is 1400
Wewatta Street, Suite 500, enver, Colorado 80202.

On December 10, 2015, l served the following documents by placing a true copy
thereof in a sealed envelope(s) on the persons below as follows:

NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT BASED ON
FEDERAL QUESTI()N JURISDICTION

L. Paul l\/lanl<in, Esq.

The Law Office of L. Paul Mankin
8730 Wilshire Blvd., Ste. 310
Beverly Hills, CA 90211
Telephone: (800) 219-3577
Facsimile: (323) 207-3 885
Attomeysfor Plainti]j”

l:| (MAIL) l placed the envelope for collection and mailing, following our
ordinary business practices am readily familiar with this firm’s practice
for collecting and processing correspondence for mailing. On the same day
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will be filed under Separate cover.

I:l (l?ACSll\/IILE) l faxed the documents to the persons at the fax numbers
listed. No error was reported by tl_ie fax machine that l used. A copy of the
record of the fax transmission, which 1 printed out, is attached

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5 CASE No. TBD

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AKERMAN LLP
725 S. FIGUEROA STREET, SUITE 3800

 

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LOS ANGELES, CALIFORNIA 90017
TEL.: (213) 688-9500 ~ FAX: (213) 627-6342

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Case 5:15-cV-02517-KK Document 1 Filed 12/10/15 Page 6 of 6 Page |D #:6

|:| (E-MAIL or ELECTRONIC TRANSMISSION) Based on a court order or
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l declare u_nder penalty of per‘ury that l _am employed in the office of a member of
the bar of this Court at whose irection this service was made and that the foregoing
is true and correct.

l:l (State) l declare under penalty of perjury under the laws of the State of
California that the above is true and correct.

(Federal) l declare that I am employed in the office of a member of the Bar of
this Court at whose direction the service was made. l declare under
penalty of perjury under the laws of the United States of Arnerica
that the above is true and correct.

Executed on December 10, 2015, at Denver, Colorad,o~./'”” “' "`§

 

 

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